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                  EXHIBIT D
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                                              INDEX IN SUPPORT OF MOTION TO SEAL
                                                 BEST PRICE MOTION (ECF NO. 285)

                                                                           Clearly
                                                   Basis for Sealing                       Why a Less
                                                                        Defined and                          Prior         Party in
                                                     (Legitimate                           Restrictive
                                                                           Serious                           Order       Opposition to
                                                   Private or Public                      Alternative to
         Material/Title of Document                                     Injury That                        Sealing the    Sealing, if
                                                    Interests That                          the Relief
                                                                       Would Result                          Same         Any, and
                                                     Warrant the                          Sought Is Not
                                                                       if Relief Were                       Materials       Basis
                                                        Relief)                             Available
                                                                        Not Granted

                                              JJHCS requests           If filed on the    JJHCS requests None            None
 Letter from E. Evans Wohlforth, Jr. Esq.     the redaction of         public docket,     the sealing of
 regarding Defendant Save On SP LLC’s         information and          these portions     only           the
  Motion to Compel Plaintiff Johnson &        discussion in the        of the April 18    information that
   Johnson Health Care System, Inc. to        April 18 letter that     letter would       will        reveal
Produce “Best Price” Certifications [dated    is not known to          reveal             confidential
             April 18, 2024]                  the general public       confidential       information that
              (ECF No. 285)                   and which the            material           is not known to
                                              parties agreed to        relating to        the        general
Page 3           (“J&J . . . maximizer”), keep confidential.           JJHCS’s            public. No less
                 (“in . . . purposes”)        JJHCS maintains          sensitive          restrictive
                                              that          these      business           alternative      is
Pages 3–4        (“J&J . . . Calculation”)    documents       and      information.       available       or
                                              exhibits contain                            practicable.
Page 4           (“If . . . calculation”), sensitive business          Disclosure of
                 (“consistent . . . Reports”) information.             this
                                                                       confidential
Page 5           (“It . . . year”), (“The . . .                        and proprietary
                 December”),        (“accusing                         information to
                 . . . patients”)                                      the      public
                                                                       would cause
Page 8           (“The . . . years”), (“We . . .
                                                                       irreparable
                 this”), (“J&J . . . drug”),
                                                                       harm to JJHCS
                 (“worried . . . years”)
                                                                       because       it
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                                                                            Clearly
                                                    Basis for Sealing                      Why a Less
                                                                         Defined and                         Prior         Party in
                                                      (Legitimate                          Restrictive
                                                                            Serious                          Order       Opposition to
                                                    Private or Public                     Alternative to
         Material/Title of Document                                      Injury That                       Sealing the    Sealing, if
                                                     Interests That                         the Relief
                                                                        Would Result                         Same         Any, and
                                                      Warrant the                         Sought Is Not
                                                                        if Relief Were                      Materials       Basis
                                                         Relief)                            Available
                                                                         Not Granted

Pages 8–9        (“J&J . . . Program”)                                  would     place
                                                                        JJHCS at a
Page 9           (“The . . . Rule”), (“As . . .                         competitive
                 lawsuit”),    (“from     ...                           disadvantage if
                 conditions”), (“indicating                             its competitors
                 . . . Rule”), (“to . . .                               secured     the
                 patients”)                                             information.

Page 9, note 6 (“J&J’s . . . 2025”)

Page 9, note 8 (“In    ...            patients”),
               (“Challenge                   ...
               programs”)

Page 10          (“yet      ...       Rule”),
                 (“Documents . . . wished”),
                 (“discussing . . . amount”)

Page 10, note    (“TrialCard . . . 2021”)
8

Page 10, note    (“The . . . Rule”)
9



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                                                                            Clearly
                                                  Basis for Sealing                         Why a Less
                                                                         Defined and                           Prior         Party in
                                                    (Legitimate                             Restrictive
                                                                            Serious                            Order       Opposition to
                                                  Private or Public                        Alternative to
       Material/Title of Document                                        Injury That                         Sealing the    Sealing, if
                                                   Interests That                            the Relief
                                                                        Would Result                           Same         Any, and
                                                    Warrant the                            Sought Is Not
                                                                        if Relief Were                        Materials       Basis
                                                       Relief)                               Available
                                                                         Not Granted

Page 11           (“its . . . Rule”), (“October
                  . . . conditions”)

Exhibits 1 &      Redaction of discovery          JJHCS requests        If filed on the   JJHCS requests     None          None
15                materials related to            the redaction of      public docket,    the sealing of
                  confidential business           information in        these exhibits    only the
                  information                     certain exhibits to   to the April 18   information that
                                                  the April 18 letter   letter would      will reveal
Exhibits 2, 3     Redactions to discovery         that is not known     reveal            confidential
&4                letters related to              to the general        confidential      information that
                  confidential business           public and which      material          is not known to
                  information                     the parties agreed    relating to       the general
                                                  to keep               JJHCS’s           public. No less
Exhibits 6, 8,    Sealing of documents            confidential.         sensitive         restrictive
9, 11, 17, &      related to confidential         JJHCS maintains       business          alternative is
19                business information            that these            information.      available or
                                                  documents and                           practicable.
Exhibits 7,       Sealing of emails and           exhibits contain      Disclosure of
10, 12, 16,       attachments related to          sensitive business    this
18, 25, & 28      confidential business           information.          confidential
                  information                     Some of these         and proprietary
                                                  documents (e.g.       information to
Exhibits 20 & Sealing of confidential             Exhibits 1, 15,       the public
27            emails related to TrialCard         22, and 23) were      would cause


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                                                                 Clearly
                                         Basis for Sealing                      Why a Less
                                                              Defined and                         Prior         Party in
                                           (Legitimate                          Restrictive
                                                                 Serious                          Order       Opposition to
                                         Private or Public                     Alternative to
      Material/Title of Document                              Injury That                       Sealing the    Sealing, if
                                          Interests That                         the Relief
                                                             Would Result                         Same         Any, and
                                           Warrant the                         Sought Is Not
                                                             if Relief Were                      Materials       Basis
                                              Relief)                            Available
                                                              Not Granted

Exhibit 21     Sealing of confidential   produced by non-    irreparable
               presentation related to   parties, Archbow    harm to JJHCS
               TrialCard                 and TrialCard,      because it
                                         and were            would place
Exhibits 22 & Sealing of confidential    designated as       JJHCS at a
26            emails and presentations   confidential.       competitive
              related to TrialCard       Exhibit 12 also     disadvantage if
                                         contains            its competitors
                                         Confidential        secured the
                                         Health              information.
                                         Information.
                                                             Additionally,
                                                             disclosure of
                                                             Confidential
                                                             Health
                                                             Information
                                                             would also
                                                             improperly
                                                             reveal
                                                             confidential
                                                             health
                                                             information to
                                                             the public.



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                                                                           Clearly
                                                  Basis for Sealing                        Why a Less
                                                                        Defined and                           Prior         Party in
                                                    (Legitimate                            Restrictive
                                                                           Serious                            Order       Opposition to
                                                  Private or Public                       Alternative to
      Material/Title of Document                                        Injury That                         Sealing the    Sealing, if
                                                   Interests That                           the Relief
                                                                       Would Result                           Same         Any, and
                                                    Warrant the                           Sought Is Not
                                                                       if Relief Were                        Materials       Basis
                                                       Relief)                              Available
                                                                        Not Granted

Exhibit 23       Sealing of confidential
                 handwritten notes related
                 to business information

Exhibits 24 & Sealing of confidential
29            emails related to the
              CarePath program

                                                  JJHCS requests       If filed on the   JJHCS requests     None          None
 Opposition to BPR Motion [dated May 2,           the redaction of     public docket,    the sealing of
                 2024]                            information and      these portions    only the
            (ECF No 285-31)                       discussion in the    of the May 2      information that
                                                  May 2 letter that    letter would      will reveal
Page 11          (“These . . . programs”),        is not known to      reveal            confidential
                 (“the . . . insurance”)          the general public   confidential      information that
                                                  and which the        material          is not known to
Page 12, note    (“recognized . . .               parties agreed to    relating to       the general
3                maximizers”), (“The . . .        keep confidential.   JJHCS’s           public. No less
                 this”)                           JJHCS maintains      sensitive         restrictive
                                                  that these           business          alternative is
Page 14, note    (“it . . . Rule”), (“one . . .   documents and        information.      available or
4                anything”), (“In . . .           exhibits contain                       practicable.
                 patients”), (“The . . .                               Disclosure of
                 Rule”), (“which . . . Rule”)                          this


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                                                                      Clearly
                                            Basis for Sealing                         Why a Less
                                                                   Defined and                           Prior         Party in
                                              (Legitimate                             Restrictive
                                                                      Serious                            Order       Opposition to
                                            Private or Public                        Alternative to
       Material/Title of Document                                  Injury That                         Sealing the    Sealing, if
                                             Interests That                            the Relief
                                                                  Would Result                           Same         Any, and
                                              Warrant the                            Sought Is Not
                                                                  if Relief Were                        Materials       Basis
                                                 Relief)                               Available
                                                                   Not Granted

Page 15        (“Programs . . . patient”)   sensitive business    confidential
                                            information.          and proprietary
                                                                  information to
                                                                  the public
                                                                  would cause
                                                                  irreparable
                                                                  harm to JJHCS
                                                                  because it
                                                                  would place
                                                                  JJHCS at a
                                                                  competitive
                                                                  disadvantage if
                                                                  its competitors
                                                                  secured the
                                                                  information.

Exhibit 1      Sealing of confidential      JJHCS requests        If filed on the   JJHCS requests     None          None
               presentation                 the redaction of      public docket,    the sealing of
                                            information in        these exhibits    only the
Exhibit 4      Redactions to discovery      certain exhibits to   to the May 2      information that
               letter related to benefits   the May 2 letter      letter would      will reveal
               investigations               that is not known     reveal            confidential
                                            to the general        confidential      information that
                                            public and which      material          is not known to
                                            the parties agreed    relating to       the general

                                                                  6
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                                                      Clearly
                             Basis for Sealing                        Why a Less
                                                   Defined and                          Prior         Party in
                               (Legitimate                            Restrictive
                                                      Serious                           Order       Opposition to
                             Private or Public                       Alternative to
Material/Title of Document                         Injury That                        Sealing the    Sealing, if
                              Interests That                           the Relief
                                                  Would Result                          Same         Any, and
                               Warrant the                           Sought Is Not
                                                  if Relief Were                       Materials       Basis
                                  Relief)                              Available
                                                   Not Granted

                             to keep              JJHCS’s           public. No less
                             confidential.        sensitive         restrictive
                             JJHCS maintains      business          alternative is
                             that these           information.      available or
                             documents and                          practicable.
                             exhibits contain     Disclosure of
                             sensitive business   this
                             information.         confidential
                                                  and proprietary
                                                  information to
                                                  the public
                                                  would cause
                                                  irreparable
                                                  harm to JJHCS
                                                  because it
                                                  would place
                                                  JJHCS at a
                                                  competitive
                                                  disadvantage if
                                                  its competitors
                                                  secured the
                                                  information.




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                                                                          Clearly
                                                 Basis for Sealing                        Why a Less
                                                                       Defined and                           Prior         Party in
                                                   (Legitimate                            Restrictive
                                                                          Serious                            Order       Opposition to
                                                 Private or Public                       Alternative to
         Material/Title of Document                                    Injury That                         Sealing the    Sealing, if
                                                  Interests That                           the Relief
                                                                      Would Result                           Same         Any, and
                                                   Warrant the                           Sought Is Not
                                                                      if Relief Were                        Materials       Basis
                                                      Relief)                              Available
                                                                       Not Granted

                                                 JJHCS requests       If filed on the   JJHCS requests     None          None
   2024.05.09 SaveOn Best Price Reply            the redaction of     public docket,    the sealing of
            (ECF No. 285-38)                     information and      these portions    only the
                                                 discussion in the    of the May 9      information that
Page 5, note 3 (“J&J . . . Rule”)                May 9 letter that    letter would      will reveal
                                                 is not known to      reveal            confidential
Page 7           (“J&J . . . accumulators”),     the general public   confidential      information that
                 (“Consistent . . . poses”),     and which the        material          is not known to
                 (“This . . . for”)              parties agreed to    relating to       the general
                                                 keep confidential.   JJHCS’s           public. No less
Page 7, note 5 (“J&J . . . plans”), (“This       JJHCS maintains      sensitive         restrictive
               . . . patients”), (“The . . .     that these           business          alternative is
               document”)                        documents and        information.      available or
                                                 exhibits contain                       practicable.
Page 8           (“that . . . Reports”),                              Disclosure of
                                                 sensitive business
                 (“J&J’s . . . non-patients”)                         this
                                                 information.
                                                                      confidential
Page 9           (“confirm . . . programs”),
                                                                      and proprietary
                 (“but . . . intentions”),
                                                                      information to
                 (“certifying . . . purposes”)
                                                                      the public
                                                                      would cause
Page 9, note 8 (“checklist . . .”),
                                                                      irreparable
               (“checklist . . .”),
                                                                      harm to JJHCS
               (“checklist . . . all”), (“J&J


                                                                      8
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                                                                       Clearly
                                               Basis for Sealing                      Why a Less
                                                                    Defined and                         Prior         Party in
                                                 (Legitimate                          Restrictive
                                                                       Serious                          Order       Opposition to
                                               Private or Public                     Alternative to
      Material/Title of Document                                    Injury That                       Sealing the    Sealing, if
                                                Interests That                         the Relief
                                                                   Would Result                         Same         Any, and
                                                 Warrant the                         Sought Is Not
                                                                   if Relief Were                      Materials       Basis
                                                    Relief)                            Available
                                                                    Not Granted

                . . . here”), (“checklist                          because it
                . . .”), (“checklist . . .”)                       would place
                                                                   JJHCS at a
Page 10         (“Because . . .                                    competitive
                Department”), (“These . . .                        disadvantage if
                implicitly”)                                       its competitors
                                                                   secured the
Page 10, note   (“J&J . . . purposes”)                             information.
9

Page 11, note   (“For . . . patients”)
10

Page 12         (“J&J . . . insurers”),
                (“stating . . . year”), (“As
                . . . Tremfya”)

Page 13         (“estimated . . . years”)

Page 13, note   (“J&J . . . patients”), (“It
13              . . . [sic]”), (“and . . .
                poor”)




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                                                                       Clearly
                                            Basis for Sealing                          Why a Less
                                                                    Defined and                           Prior         Party in
                                              (Legitimate                              Restrictive
                                                                       Serious                            Order       Opposition to
                                            Private or Public                         Alternative to
      Material/Title of Document                                    Injury That                         Sealing the    Sealing, if
                                             Interests That                             the Relief
                                                                   Would Result                           Same         Any, and
                                              Warrant the                             Sought Is Not
                                                                   if Relief Were                        Materials       Basis
                                                 Relief)                                Available
                                                                    Not Granted

Page 16        (“its . . . involved”),
               (“reflecting . . . cc’s”),
               (“reflecting . . . Rule”)

Exhibits 31 & Sealing of confidential       JJHCS requests         If filed on the   JJHCS requests     None          None
32            documents related to          the redaction of       public docket,    the sealing of
              business information          information in         these exhibits    only the
                                            certain exhibits to    to the May 9      information that
                                            the May 9 letter       letter would      will reveal
                                            that is not known      reveal            confidential
                                            to the general         confidential      information that
                                            public and which       material          is not known to
                                            the parties agreed     relating to       the general
                                            to keep                JJHCS’s           public. No less
                                            confidential.          sensitive         restrictive
                                            JJHCS maintains        business          alternative is
                                            that these             information.      available or
                                            documents and                            practicable.
                                            exhibits contain       Disclosure of
                                            sensitive business     this
                                            information.           confidential
                                                                   and proprietary
                                                                   information to
                                                                   the public
                                                                   would cause

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                                                       Clearly
                              Basis for Sealing                       Why a Less
                                                    Defined and                         Prior         Party in
                                (Legitimate                           Restrictive
                                                       Serious                          Order       Opposition to
                              Private or Public                      Alternative to
Material/Title of Document                          Injury That                       Sealing the    Sealing, if
                               Interests That                          the Relief
                                                   Would Result                         Same         Any, and
                                Warrant the                          Sought Is Not
                                                   if Relief Were                      Materials       Basis
                                   Relief)                             Available
                                                    Not Granted

                                                   irreparable
                                                   harm to JJHCS
                                                   because it
                                                   would place
                                                   JJHCS at a
                                                   competitive
                                                   disadvantage if
                                                   its competitors
                                                   secured the
                                                   information.




                                                  11
